
9 N.Y.2d 738 (1961)
In the Matter of the Claim of Mary Gugliotto et al., Appellants,
v.
City of New York, Respondent.
Court of Appeals of the State of New York.
Argued February 27, 1961.
Decided March 2, 1961.
Bernard Meyerson and Sybil Hart Kooper for appellants.
Charles H. Tenney, Corporation Counsel (Robert L. Ellis and Seymour B. Quel of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, without costs; no opinion.
